                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:12-CR-025
                                                )
ISIDORO GARCIA                                  )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction [doc. 281].   Through counsel, the defendant asks the court to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782

and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”).               The

government has responded [doc. 282], deferring to the court’s discretion whether and to

what extent to grant any such reduction, subject to the limitations of 18 U.S.C. §

3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).       One such exception is identified in 18 U.S.C. §

3582(c)(2):




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       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in [18 U.S.C.]
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon v. United States, 560 U.S. 817, 827 (2010) (internal

quotation marks and citation omitted); see also U.S.S.G. § 1B1.10(b)(1) (2015).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C,

amend. 782 (2014). Amendment 788, which also became effective on November 1,

2014, identified Amendment 782 as retroactive. See id., amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2015).        The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of




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imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may also consider a defendant’s

post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated February 7, 2013, this court sentenced the defendant to a 37-

month term of imprisonment as to Count One (a cocaine conspiracy) to be followed by a

mandatory 60-month term of imprisonment as to Count Eight (possession of a firearm in

furtherance of a drug trafficking crime), for a net sentence of 97 months.                 The

defendant’s guideline range for the cocaine offense was 60 to 63 months, based on a total

offense level of 23, a criminal history category of II, and a statutorily-required minimum

sentence of 60 months.

       Prior to sentencing, the United States filed a motion for downward departure

pursuant to 18 U.S.C. § 3553(e) and USSG 5K1.1. The court granted the motion and

downward to 37 months as to Count One, a reduction of 38 percent from the bottom of

the guideline range. According to the Bureau of Prisons, the defendant is presently

scheduled for release on January 29, 2019.




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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range for the cocaine

offense is 41 to 51 months, based on a total offense level of 21 and a criminal history

category of II. Thus, the defendant was originally sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission. Applying U.S.S.G § 1B1.10(c), a corresponding 3553(e) departure may be

applied from the new cocaine guideline range without regard to the mandatory minimum

sentence. In the present case, a corresponding 38 percent substantial assistance reduction

would result in a sentence of 25 months for the drug offense.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the offenses, the defendant’s

post-sentencing conduct, and the need to protect the public. See id. § 1B1.10 cmt.

n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction.

       It is noted that the defendant has thrice been sanctioned for disciplinary infractions

since he was sentenced, but the court finds that each of those relatively minor infractions

has already been sufficiently sanctioned by the Bureau of Prisons. Conversely, the court

notes that the defendant has obtained his G.E.D. while incarcerated, and for that he is to

be commended.




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IV.    Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

281] is GRANTED. The defendant’s term of imprisonment is reduced to 25 months as

to Count One. The mandatory 60-month sentence for Count Eight remains in place and

shall still be served consecutively, for a net sentence of 85 months. This sentence

includes a corresponding 38 percent substantial assistance reduction from the bottom of

the new controlled substance guideline range.

       Except as provided above, all provisions of the judgment dated February 7, 2013,

shall remain in effect.

              IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                      United States District Judge




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